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       Attorney for Defendants
 5     CARSON CITY, JASON BUENO, SEAN PALAMAR, TYSON LEAGUE,
       JASON WOODBURY, and KENNETH FURLONG
 6
 7                              UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF NEVADA
 9
10     DREW J. RIBAR,
11                Plaintiff,
                                                  Case No.    3:24-cv-00103-ART-CLB
12     vs.
13     STATE OF NEVADA EX. REL. NEVADA            CARSON CITY DEFENDANTS’
       DEPARTMENT OF CORRECTIONS,                 RESPONSE TO ORDER TO SHOW
14     CARSON CITY AND ITS SHERIFFS
       OFFICE, CARSON CITY DISTRICT               CAUSE WHY REMOVAL WAS PROPER
15     ATTORNEYS OFFICE, CARSON CITY              [ECF 38]
       MANAGERS OFFICE, FERNANDEIS
16     FRAZAIER IN HIS OFFICIAL CAPACITY
       AS WARDEN OF NORTHERN NEVADA
17     CORRECTIONAL, AARON RYDER IN HIS
       OFFICIAL CAPACITY AS AN OFFICER OF
18     NEVADA DEPARTMENT OF
       CORRECTIONS, ROBERT SMITH IN HIS
19     OFFICIAL CAPACITY AS AN OFFICER OF
       NEVADA DEPARTMENT OF
20     CORRECTIONS, JASON BUENO IN HIS
       OFFICIAL CAPACITY AS AN OFFICER OF
21     CARSON CITY SHERIFF, SEAN
       PALAMAR RYDER IN HIS OFFICIAL
22     CAPACITY AS AN OFFICER OF CARSON
       CITY SHERIFF, TYSON DARIN LEAGUE
23     RYDER IN HIS OFFICIAL CAPACITY AS
       AN OFFICER OF CARSON CITY DISTRICT
24     ATTORNEY, JAMES DZURENDA
       (DIRECTOR NEVADA DEPARTMENT OF
25     CORRECTIONS), JASON D. WOODBURY
       (CARSON CITY DISTRICT ATTORNEY),
26     KENNETH T. FURLONG IN HIS
       CAPACITY AS SHERIFF CARSON CITY,
27     NV, OFFICER/DEPUTY/J. DOE 1-99,
28
                  Defendants.

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 1            COME NOW Defendants CARSON CITY, JASON BUENO, SEAN PALAMAR,
 2     TYSON LEAGUE, JASON WOODBURY, and KENNETH FURLONG, by and through their
 3     attorneys Thorndal Armstrong, PC, and pursuant to the Court’s order dated November 22, 2024,
 4     hereby respond to the Order to Show Cause related to removal of this action based on federal
 5     question jurisdiction.
 6            As noted by the Court in its Order to Show Cause, the Carson City Defendants removed
 7     this case from the First Judicial District Court on February 29, 2024, based on the existence of
 8     federal question jurisdiction pursuant to 28 U.S.C. §1441(a). The Carson City Defendants filed
 9     their Notice of Removal in the First Judicial District Court on the same day. See, Exhibit 1,
10     Notice of Removal. Pursuant to 28 U.S.C. §1446(b)(2)(A), when a civil action is removed based
11     upon the existence of federal question jurisdiction, all defendants who have been properly joined
12     and served must consent to the removal of the action. Here, the Carson City Defendants were
13     not aware of service of process having been made on the State of Nevada. or any of its officers,
14     at the time they filed their Petition for Removal. Although the Court references an affidavit of
15     the Plaintiff pertaining to service on the State defendants with a service date of February 13,
16     2024, Plaintiff did not file any affidavits of service (or serve any such documents) relating to the
17     State defendants until July 25, 2024, after the Court Clerk issued notice to the Plaintiff regarding
18     its intent to dismiss unserved defendants (including all of the State defendants) pursuant to FRCP
19     4(m) on June 26, 2024. See, ECF 15.
20            Further, 28 U.S.C. §1446(d) requires the removing party to give written notice of
21     removal to all “adverse parties.” Here, the Carson City Defendants served written notice of the
22     removal of this case on Plaintiff on February 29, 2024. See, ECF 1, p. 4; see also, Exhibit 1,
23     Notice of Removal, p. 3.
24     ///
25     ///
26     ///
27     ///
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 1            As this Court has original jurisdiction over this case, and as the Carson City Defendants
 2     followed the procedure set forth in 28 U.S.C. §1446 related to notice of removal to the adverse
 3     party, removal was proper under the circumstances.
 4            DATED this 2nd day of December, 2024.
 5                                                  THORNDAL ARMSTRONG, PC
 6
                                                    By:      /s/ Katherine Parks
 7                                                          KATHERINE F. PARKS, ESQ.
                                                            Nevada Bar No. 6227
 8                                                          6590 S. McCarran Blvd., Suite B
                                                            Reno, Nevada 89509
 9                                                          Attorney for Defendants
                                                            CARSON CITY, JASON BUENO, SEAN
10                                                          PALAMAR, TYSON LEAGUE, JASON
                                                            WOODBURY, and KENNETH FURLONG
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 1                                     CERTIFICATE OF SERVICE
 2             Pursuant to FRCP 5(b), I certify that I am an employee of Thorndal Armstrong, PC, and
 3     that on this date I caused the foregoing CARSON CITY DEFENDANTS’ RESPONSE TO
 4     ORDER TO SHOW CAUSE WHY REMOVAL WAS PROPER [ECF 38] to be served on all
 5     parties to this action by:
 6       X     placing an original or true copy thereof in a sealed, postage prepaid, envelope in the
 7     United States mail at Reno, Nevada.
 8     _____ United States District Court CM/ECF Electronic Filing Process
 9     _____ hand delivery
10     _____ electronic means (fax, electronic mail, etc.)
11     _____ Federal Express/UPS or other overnight delivery
12     fully addressed as follows:
13                                             Drew J. Ribar
                                             3480 Pershing Ln
14                                        Washoe Valley, NV 89704
                                              Pro Se Plaintiff
15
16
               DATED this 2nd day of December, 2024.
17
18
                                                                   /s/ Laura Bautista
19                                                           An employee of Thorndal Armstrong, PC
20
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 1
                                     INDEX OF EXHIBITS
 2
       Exhibit   Description
 3      No.
         1       Notice of Removal
 4
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